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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

      In Re: KATRINA CANAL BREACHES           )    CIVIL ACTION
             CONSOLIDATED LITIGATION          )    NO. 05-4182 “K” (2)
                                              )    JUDGE DUVAL
                                              )    MAG. WILKINSION
                                              )
__________________________________________)
                                              )
      PERTAINS TO: State of Louisiana (06-3552))
                                              )
__________________________________________)

      DEFENDANTS UNITED STATES’ MEMORANDUM IN SUPPORT OF
      MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
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                                  PRELIMINARY STATEMENT
           Defendants United States of America, United States Army Corps of Engineers and
Francis J. Harvey, Secretary of the Army (“Defendants” or the “Corps”), respectfully submit
this Memorandum in Support of their Motion to Dismiss Plaintiffs’ First Amended
Complaint (“FAC”). The present action stems from the devastating flooding caused by
Hurricane Katrina in August of 2005. FAC ¶ 1.1/ Plaintiffs, the State of Louisiana, St.
Bernard Parish, and several individual citizens, bring this action alleging violations of several
environmental statutes and a common law nuisance claim in Defendants’ design,
construction, maintenance and operation of the Mississippi River Gulf Outlet (the “MR-
GO”). Plaintiffs allege that because of these violations, the MR-GO exacerbated the flooding
caused by Hurricane Katrina and continues to pose a threat. Plaintiffs seek an order from this
Court appointing a special master to prepare a study and remedial plan for the MR-GO to be
implemented by this Court. Because Plaintiffs fail to meet their burden of establishing
subject matter jurisdiction, Plaintiffs’ First Amended Complaint (“FAC”) should be
dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1).
           Plaintiffs claims fail for several reasons. Plaintiffs First and Second Claims allege
violations of the Fish and Wildlife Coordination Act (“FWCA”) and the Rivers and Harbor
Act of 1945 (“RHA”). Because these statutes do not create private rights of action for
violations of their provisions, Plaintiffs’ challenges must be brought under the Administrative
Procedure Act, 5 U.S.C. § 701, et. seq. (“APA”). Plaintiffs do bring these claims under the
APA and allege that Defendants violated the FWCA and RHA by failing to coordinate with
the appropriate agencies when building the MR-GO. ¶¶ 171, 183. But because, as Plaintiffs’
FAC acknowledges, these claims accrued over forty years ago, they are barred by the six-year
statute of limitations period for APA claims. And because this long delay was unreasonable
and prejudiced Defendants in the millions of dollars spent on the MR-GO in the intervening
years (¶ 47), the FWCA and RHA claims are also barred by the doctrine of laches.


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     All paragraph references are to the FAC, e.g., ¶ 1.

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        Plaintiffs Third, Fourth and Fifth Claims allege violations of the National
Environmental Policy Act (“NEPA) and the Water Resources Development Act of 1990
(“WRDA”). Plaintiffs allege that Defendants violated NEPA and WRDA by failing to
consider the environmental effects and take other steps before “discontinuing” the dredging
of the MR-GO. ¶¶ 199, 209, 220. NEPA and WRDA do not create private rights of action
and Plaintiffs bring these claims under the APA as well. ¶¶ 193, 205, 216. The APA,
however, only provides jurisdiction for “final agency action.” It is true that the Corps has not
dredged the MR-GO since November of 2005. But a final decision regarding whether to
continue maintenance dredging will not be made until the Corps submits a final report to
Congress in December of 2007. 120 Stat. 418, 453. Accordingly, the “decision to forego
dredging” was not a final agency action under the APA and the Court lacks jurisdiction over
these claims.
        Plaintiffs’ Sixth Claim for relief asserts that the Corps, as the owner and operator of
the MR-GO, created a nuisance under Louisiana and federal common law. ¶¶ 225-28. But a
nuisance claim is a tort claim, and this action is not brought pursuant to the Federal Tort
Claims Act (“FTCA”). Because the FTCA represents the sole waiver of sovereign immunity
for common law torts claims against the United States, this claim must fail for lack of
jurisdiction.
        Importantly, Plaintiffs also lack standing to bring any of the claims alleged in the
FAC. Plaintiffs do not seek a specific remedy, but instead ask the Court to appoint a special
master to study and develop a remedial plan. FAC, Prayer for Relief at 90. Accordingly, it is
merely speculative that Plaintiffs’ alleged injuries will be redressed by a favorable decision.
Indeed, it is not at all clear, precisely what a favorable decision - - the proposed remedial plan
- - would entail. Under well established Supreme Court precedent, standing requires a
showing that it is “likely,” not merely “speculative” that the alleged injury will be redressed
by a favorable decision. Plaintiffs therefore lack standing to assert any of their claims.
        Plaintiffs claims are also barred by the Flood Control Act of 1928, whose broad
language provides that “[n]o liability of any kind shall attach to or rest upon the United States

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for any damage from or by floods or flood waters at any place.” 33 U.S.C. § 702c. Plaintiffs’
FAC asserts that it is based on the flooding from Katrina and that each of the Plaintiffs was
damaged by the flooding. ¶¶ 1, 23. Defendants are therefore entitled to immunity from
Plaintiffs’ claims and the action should be dismissed.
        Finally, even if the Court were to find that it has jurisdiction to hear Plaintiffs’ claims,
and even if the Court were to find that Plaintiffs properly alleged statutory violations under
the APA, the relief Plaintiffs seek is beyond the jurisdiction provided by the APA. Under the
APA, a court may not substitute its judgment for that of an agency or impose its own
procedures on an agency. This limitation reflects fundamental principles governing judicial
review of executive branch functions. Therefore, the appointment of a special master to
develop a study and remedial plan for the court to implement is beyond the Court’s
jurisdiction.
        As set forth below, each of Plaintiffs’ claims fails for lack of jurisdiction. The Court
should therefore dismiss this action pursuant to Federal Rule of Civil Procedure 12(b)(1).
                                        BACKGROUND
        On March 29, 1956, President Eisenhower signed into law a bill authorizing
construction of the MR-GO. Pub. L. 84-455, 70 Stat. 65 (1956). The MR-GO is a navigable
waterway, built to provide a direct shipping route between the Gulf of Mexico and the port
facilities of greater New Orleans. ¶ 47. It is a deep-draft navigation channel, 76 miles long
with an authorized depth of 36 to 38 feet. ¶ 47. The MR-GO was constructed with a bottom
width of 500 feet and a surface width of 650 feet. ¶ 48. It extends from a turning basin in
New Orleans, eastward along the Gulf Intercoastal Waterway (“GIWW”) approximately six
miles to a point in Micheaud, Orleans Parish, Louisiana, then southeastward to a point in the
Gulf of Mexico seaward of Breton Island, St. Bernard Parish, Louisiana. ¶ 47. The
construction was substantially in accordance with the recommendations of the Corps’ Chief
of Engineers contained in House Document 245 (84th Congress). ¶ 46, 52; Pub. L. No. 84-
455, 70 Stat. 65 (1956). As part of its maintenance of the MR-GO, the Corps performs
maintenance dredging of the bottom of the waterway when the Corps determines that such

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dredging is needed for navigation purposes. The Corps has not dredged the MR-GO since
August of 2005. ¶¶ 61-63.
       In August 2005, Hurricane Katrina created a storm surge that pushed a great volume
of water towards New Orleans from the southeast. ¶ 153. Levees along the MR-GO were
overtopped, contributing to the flooding of Orleans and St. Bernard Parishes. Id. The
President declared an emergency in Louisiana on August 27, 2005 and a major disaster in
Louisiana on August 29, 2005. 70 Fed. Reg. 53238, 70 Fed. Reg. 53803.
       The “Emergency Supplemental Appropriations Act for Defense, the Global War on
Terror and Hurricane Recovery” became effective June 15, 2006. Pub. L. No. 109-234, 120
Stat. 418 (2006). Chapter 3 of this Act appropriated $3,300,000 to the Corps to develop a
comprehensive plan to deauthorize deep draft navigation on the MR-GO between the Gulf of
Mexico and the Gulf Intracoastal Waterway (“MR-GO deauthorization plan”). 120 Stat. 418,
453. The Act provides that an interim report to Congress on the MR-GO deauthorization
plan is due to Congress on December 15, 2006. Id. The final MR-GO deauthorization plan
must be reported to Congress in December 2007 as part of the Louisiana Coastal Protection
and Restoration Plan. Id.
       House Report 109-494, the conference report supporting Pub. L. No. 109-234,
discusses the plan to deauthorize MR-GO deep draft navigation in further detail. The report
directs that the plan shall include recommended modifications to the existing authorized
current use of the MR-GO, including what navigation functions, if any, should be maintained
and any measures for hurricane and storm protection. The Corps must develop the MR-GO
deauthorization plan in consultation with St. Bernard Parish, the State of Louisiana, and
affected Federal Agencies. Id
       As part of its maintenance of the MR-GO, the Corps performs maintenance dredging
of the bottom of the waterway when the Corps determines that such dredging is needed for
navigation purposes. The Corps has not dredged the MR-GO since August of 2005. ¶¶ 61-
63.



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                                  STANDARD OF REVIEW
       It is well settled that federal district courts are courts of limited jurisdiction.
Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). They may exercise
only as much jurisdiction as is granted to them under the Constitution and by Congress. Id.
Fed. R. Civ. P. 12(b)(1) provides that a defendant may move for dismissal based upon “lack
of jurisdiction over the subject matter” when the district court lacks the statutory or
constitutional authority to adjudicate a case. In resolving these motions, a court is not
confined to allegations in the complaint. “On a motion under [Rule] 12(b)(1) challenging the
district court’s subject matter jurisdiction, the court may resolve disputed jurisdictional fact
issues by reference to evidence outside the pleadings, such as affidavits.” Antares Aircraft v.
Federal Republic of Nigeria, 948 F.2d 90, 96 (2d Cir. 1991) (citations omitted) vacated on
other grounds, 505 U.S. 1215 (1992). “In deciding a motion to dismiss a case for lack of
subject matter jurisdiction, the Court may consider evidentiary matters outside the
pleadings.” Bonterra America, Inc. v. Bestmann, 907 F. Supp. 4, 5 n.1 (D.D.C. 1995). The
Plaintiff bears the burden of establishing the federal jurisdiction upon which his suit relies.
Kokkonen, 511 U.S. at 377. The plaintiff, therefore, also has the burden of pleading the
requisite jurisdictional facts. See Gibbs v. Buck, 307 U.S. 66, 72 (1939). A court must
dismiss a complaint for lack of subject matter jurisdiction if the action: (1) does not arise
under the federal Constitution, law, or treaties, or fall within one of the other enumerated
categories of Article III, Section 2, of the Constitution; (2) is not a case or controversy within
the meaning of that section; or (3) the cause is not one described by any jurisdictional statute.
See Baker v. Carr, 369 U.S. 186, 198 (1962).
                                          ARGUMENT
I.     Plaintiffs’ FWCA and RHA Claims Are Time Barred.
       Plaintiffs’ First and Second Claims for Relief allege that Defendants violated the
FWCA and RHA by “investigating, planning, designing, constructing, and/or maintaining”
the MR-GO without coordinating with the appropriate agencies. ¶¶ 172, 184. Because, as
Plaintiffs’ FAC acknowledges, the investigation, planning, design and construction of the

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MR-GO occurred over forty years ago, Plaintiffs’ FWCA and RHA claims are barred by the
statute of limitations and laches and must be dismissed.
A.     Plaintiffs’ FWCA and RHA Claims are barred by the statute of limitations.
       Plaintiffs assert that their FWCA and RHA claims are brought pursuant to the APA.
¶¶ 168-71, 180-83. As the Fifth Circuit explained, an
       APA challenge is governed by the general statute of limitations provision of
       28 U.S.C. § 2401(a), which provides that every civil action against the United
       States is barred unless brought within six years of accrual. Under established
       principles of sovereign immunity, the United States is immune from suit
       unless it consents, and the terms of its consent circumscribe our jurisdiction.
       The applicable statute of limitations is one such term of consent, and failure to
       sue the United States within the limitations period is not merely a waivable
       defense. It operates to deprive federal courts of jurisdiction.
Dunn-McCampbell Royalty Interest, Inc. v. National Park Service., 112 F.3d 1283, 86-87 (5th
Cir. 1997) (footnote and internal citations omitted) (affirming dismissal of APA claim under
statute of limitations). Accordingly, APA claims against the United States that are not filed
within six years of when they accrue must be dismissed for lack of jurisdiction. See Wind
River Mining Corp. v. United States, 946 F. 2d 710, 712 (9th Cir. 1991) (six year statute of
limitations of Section 2401(a) applies to APA claims). Under the APA, a right of action
accrues at the time of "final agency action." 5 U.S.C. § 704. Sierra Club v. Slater, 120 F.3d
623, 631 (6th Cir. 1997) (affirming dismissal based on statute of limitations; finding the
plaintiffs’ argument that claim did not accrue at time complained of actions occurred “defies
logic”).
       Here, Plaintiffs’ FAC acknowledges that the basis of their FWCA and RHA claims
are actions that allegedly took place in 1958. See FAC ¶ 17 (“[t]he Army Corps violated the
FWCA and the River and Harbor Act of 1945 when it failed in 1958 to take action with
respect to the recommendations of the Department of Interior for further testing and studies
before the construction of the MR-GO”). And the FAC also alleges that Defendants’ failure
to comply with the FWCA and RHA were final agency actions. ¶¶ 171, 183. Accordingly,
Plaintiffs’ FWCA and RHA claims accrued by 1958 and are well beyond the six-year
limitations period. Accordingly, Plaintiffs’ FWCA and RHA claims are barred by the statute


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of limitations and should be dismissed for lack of jurisdiction.
B.      Plaintiffs’ FWCA and RHA claims are barred by the doctrine of laches.
        “The doctrine of laches is an equitable defense to be applied when one party is ‘guilty
of unreasonable and inexcusable delay that has resulted in prejudice’ to the other party.”
Bostwick Irrigation Dist. v. United States, 900 F.2d 1285, (8th Cir. 1990) (quoting Goodman
v. McDonnell Douglas Corp., 606 F.2d 800, 804 (8th Cir. 1979)); see also Citizens and
Landowners Against the Miles City/New Underwood Powerline v. Secretary, U.S. Dep’t of
Energy, 683 F.2d 1171, 1175 (8th Cir. 1982) (hereinafter “CLAMP”). Because laches is an
equitable defense, no fixed time period controls its applicability. See CLAMP, 683 F.2d at
1174. “In determining whether the doctrine of laches should bar a lawsuit, all the particular
circumstances of each case must be considered, including the length of delay, the reasons for
it, its effect on the defendant, and the overall fairness of permitting the plaintiff to assert his
or her action.” Id. While not favored, the doctrine of laches does apply in the context of
environmental litigation. See id. at 1175; Environmental Def. Fund, Inc. v. Alexander, 614
F.2d 474, 478, (5th Cir. 1980); Save Our Wetlands, Inc. v. United States Army Corps of
Eng’rs, 549 F.2d 1021, 1028 (5th Cir. 1977); Watershed Assocs. Rescue v. Alexander, 586 F.
Supp. 978, 984 (D. Neb. 1982). Laches requires proof of (1) lack of diligence by Plaintiffs
and (2) prejudice to Defendants. See New Jersey v. New York, 118 S. Ct. 1726, 1748 (1998).
        In Environmental Defense Fund, the plaintiffs sought an injunction against the Corps,
seeking to prevent the construction of a navigation channel. 614 F.2d at 477. The plaintiffs
alleged that the proposed navigation channel differed substantially from what Congress
authorized and would have a negative impact on the surrounding environment and economy.
Id. The district court dismissed the action under the doctrine of laches and the Fifth Circuit
affirmed. The court found that the plaintiffs’ nine-year delay in bringing the action was
unreasonable and that the Corps had suffered prejudice, including millions of dollars in
expenditures on the project. Id. at 477.
        As set forth above, Plaintiffs’ FAC makes clear that their claims accrued, if at all, by
1958. ¶ 17. Because Plaintiffs provide no reason for their forty year delay in bringing this

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action, this delay is unreasonable. It has also prejudiced Defendants. As in Environmental
Defense Fund, the Corps has spent millions of dollars on the MR-GO in the intervening
years. ¶ 47. It would be unfair to allow the Plaintiffs to bring these claims now, more than
four decades after they accrued. The doctrine of laches is therefore applicable and mandates
dismissal for the same reasons articulated by the Fifth Circuit in Environmental Defense
Fund, 614 F. 2d at 477.
II.    Plaintiffs’ Claims Based on the “Decision to Forego Dredging the MR-GO” Fail
       for Lack of Jurisdiction.
       Plaintiffs’ Third, Fourth and Fifth Claims for Relief are based on Defendants’ alleged
“decision to cease dredging operations in the MR-GO.” ¶¶ 195, 191-224. Plaintiffs assert
that Defendants violated NEPA by failing to prepare an EIS before “discontinu[ing]” the
dredging of the MR-GO. ¶ 196. Plaintiffs also allege that Defendants violated the WRDA by
failing to “consider[] . . . environmental effects” (¶ 209) and failing to “utilize all appropriate
authorities” and “develop a wetlands action plan” (¶ 220) before “discontinu[ing]” the
dredging of the MR-GO. Id. Because the alleged “decision to forego dredging” was not a
final agency action under the APA, the Court lacks jurisdiction over these claims. To the
extent Plaintiffs are complaining about future decisions to dredge the MR-GO, or any
remedial plans, these claims are not ripe.
A.     There Has Been No Final Agency Action Regarding the Maintenance Dredging
       of the MR-GO.
       Neither NEPA nor WRDA provides a private right of action for violations of its
provisions. Instead, parties alleging violations of these statutes must pursue their claims
pursuant to the APA, 5 U.S.C. §§ 701 - 706. See Lujan v. National Wildlife Fed’n, 497 U.S.
871, 882 (1990); ONRC Action v. Bureau of Land Mgmt., 150 F.3d. 1132, 1135 (9th Cir.
1998). Plaintiffs claim a right to judicial review of their NEPA and WRDA claims under the
APA. ¶¶ 193, 205, 216. For review under the APA, a plaintiff must show that there is
reviewable agency action and that the party has suffered a legal wrong or is adversely affected
or aggrieved. Lujan, 497 U.S. at 882-83 (NEPA challenge brought pursuant to the APA must
be based on final agency action); 5 U.S.C. § 702.

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       Under Section 704 of the APA, federal courts have jurisdiction to review "final
agency action for which there is no other adequate remedy." Courts may only review
"preliminary, procedural, or intermediate" agency decisions when reviewing the final agency
action. 5 U.S.C. § 704. The finality requirement ensures that the courts do not "[interfere]
with the proper functioning of the agency" or "[deny] the agency an opportunity to correct its
own mistakes and to apply its expertise." F.T.C. v. Standard Oil Co., 449 U.S. 232, 242
(1980). The finality requirement also safeguards judicial resources by preventing inefficient
"piecemeal review" that "upon completion of the agency process might prove to have been
unnecessary." Standard Oil Co., 449 U.S. at 242.
       The Supreme Court has identified two requirements for an agency action to be final:
(1) the action must mark the "consummation" of the agency's decision-making process (it
must not be of a "merely tentative" nature); and (2) the action must be one by which "rights or
obligations have been determined" or from which "legal consequences will flow." Bennett v.
Spear, 520 U.S. 154, 177-78 (1997); American Airlines, Inc. v. Herman, 176 F.3d 283, 287
(5th Cir. 1999).
       Here, the Court lacks jurisdiction over Plaintiffs’ NEPA claim because the Corps has
taken no final action regarding the dredging of the MR-GO. Public Law 109-234 instructs
the Corps to develop the MR-GO deauthorization plan. 120 Stat. 418, 453. The Corps is
instructed to submit an interim report to Congress, comprising the plan by December 15,
2006. Id. And the final report is to be issued in December 2007. Id. Thus, Plaintiffs’
attacks on the Corps’ alleged decision to forgo dredging of the MR-GO do not challenge a
final agency action. It is not the “consummation” of the Corps decision making process.
Bennett 520 U.S. at 178. Rather, the Corps has deferred making that decision until it
completes the Congressionally-authorized plan to deauthorize deep-draft navigation on the
MR-GO. 120 Stat. 418, 453. The MR-GO deauthorization plan will be the definitive
decision by the Corps on whether to resume or forgo dredging operations. Id. Because the
MR-GO deauthorization plan has not yet been completed, Plaintiffs’ challenges are
premature.

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       Indeed, courts have found that an agency’s initiation of a Congressionally-mandated
investigational process intended to inform a final decision is not final agency action. See
Schmidt v. Ivey, 1999 U.S. Dist. LEXIS 15013 at *5 (E.D.La. Sept. 24, 1999) (declining to
hear plaintiff's claim under the National Historic Preservation Act where agency had initiated
but not completed the statutorily-mandated review process); Committee Against Railroad
Relocation v. Adams, 471 F.Supp. 142, 144 (E.D.Ark. 1979) (declining to review sufficiency
of a Draft Environmental Impact Statement because it constituted a pre-decisional document).
Hearing Plaintiffs' claims at this juncture would interfere with a Congressionally-mandated
investigation and would deny the Corps its right to apply its own expertise in resolving the
complex scientific and technological issues involved in operation of the MR-GO. Because
Plaintiffs’ NEPA and WRDA claims do not challenge a final agency action, they must be
dismissed for lack of jurisdiction.
B.     Plaintiffs’ NEPA and WRDA Claims Are Not Ripe.
       To the extent Plaintiffs complain about the Corps’ inaction regarding the dredging of
the MR-GO, these claims must fail. To the extent Plaintiffs address future decisions to
embark on dredging, or any remedial plans, the matter is simply not ripe.
       The Supreme Court in Abbott Laboratories v. Gardner, 387 U.S. 136, 148 (1967)2/
explained that the "basic rationale" of the ripeness doctrine as applied to review of
administrative action:
               is to prevent the courts, through avoidance of premature
               adjudication, from entangling themselves in abstract
               disagreements over administrative policies, and also to protect
               the agencies from judicial interference until an administrative
               decision has been formalized and its effects felt in a concrete
               way by the challenging parties.
Id. at 148-49 (emphasis added). Plaintiffs here, however, seek to involve the Court in
speculation and ask for judicial intervention prior to any final agency action being taken
regarding remedial measures and future dredging. The development of the Comprehensive


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 Abbott Laboratories v. Gardner was overruled on other grounds by the U.S. Supreme Court
in Califano v. Saunders, 430 U.S. 99 (1976).

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MR-GO Plan is underway. But as stated above, it has not yet been completed. The Corps
has not yet issued the Interim Report or the Final Report. In short, no final agency action has
occurred.
        The Supreme Court, in Abbott Laboratories established a two-part test to determine
ripeness, requiring the court to consider both the fitness of the issue for judicial determination
and the hardship to the parties of withholding consideration. Abbott Laboratories 387 U.S. at
149. Plaintiff's FAC fails this test because the challenge to the “decision to forego dredging”
is not fit for review.
        Because no final agency action has been taken here the actions of Defendants are not
ripe for judicial review. There must first be a final agency action. "[R]eview is sought not
pursuant to specific authorization in the substantive statute, but only under the general review
provisions of the APA, the 'agency action' in question must be 'final agency action.'" Lujan,
497 U.S. at 779 (emphasis added), (citing 5 U.S.C. § 704)
        The lack of a "final agency action" here goes to the heart of the case or controversy
requirement of the ripeness doctrine. Where there is no final agency action, district courts
lack subject matter jurisdiction to entertain the action. See, e.g., Champion Int’l Corp. v.
EPA, 850 F.2d 182 (4th Cir. 1988). Because this Court lacks subject matter jurisdiction at
this juncture to review Plaintiffs’ attacks on Defendants’ “decision to forego dredging,”
Plaintiffs’ FAC is not “fit” for judicial review. Accordingly, Plaintiffs’ NEPA and WRDA
claims fail the first prong of the ripeness test and should be dismissed.
III.    Because There is No Waiver of Sovereign Immunity, the Court Should Dismiss
        Plaintiffs’ Nuisance Claim for Lack of Jurisdiction.
        Plaintiffs’ Sixth Claim for Relief alleges that by “creating the MR-GO’s hazardous
conditions” Defendants created a nuisance under Louisiana and federal common law. FAC
¶¶ 225-28. The United States has not waived its sovereign immunity for this claim and it
must fail for lack of jurisdiction.
        Actions against the Federal government may be maintained only when, and in the
manner in which, Congress chooses to waive sovereign immunity. It is fundamental that the


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United States “is immune from suit save as it consents to be sued . . ., and the terms of its
consent to be sued in any court define that court’s jurisdiction to entertain the suit.” United
States v. Sherwood, 312 U.S. 584, 586 (1941); United States v. Mitchell, 445 U.S. 535, 538,
reh’g denied, 446 U.S. 992 (1980). “A waiver of sovereign immunity ‘cannot be implied but
must be unequivocally expressed.’” Mitchell, 445 U.S. at 538 (citing United States v. King,
395 U.S. 1, 4 (1969)); accord Drake v. Panama Canal Comm’n, 907 F. 2d 532, 534 (5th Cir.
1990).
         A nuisance action is brought to the court as a tort. See Restatement (Second) of Torts
§ 821B (1977) (“A public nuisance is an unreasonable interference with a right common to
the general public.”). And the Federal Tort Claims Act (“FTCA”) constitutes the sole waiver
of sovereign immunity the United States has provided for common law torts, including
nuisance. See United States v. Smith, 499 U.S. 160, 166 (1991) (stating that an FTCA action
against the Government is “the exclusive remedy for torts committed by Government
employees in the scope of their employment”); see generally, Bartleson v. United States, 96
F.3d 1270, 1274 (9th Cir. 1996).
         The FTCA requires a claimant “first [to] present[] the claim to the appropriate Federal
agency.” 28 U.S.C. § 2675(a). Failure to comply with § 2675(a) leaves “the district court . . .
without subject matter jurisdiction.” Price v. United States, 81 F.3d 520, 521 (5th Cir. 1996);
accord Price v. United States, 69 F.3d 46, 54 (5th Cir. 1995). Here, Plaintiffs did not file
such a tort claim and therefore have not satisfied the statutory prerequisite for bringing any
tort claim against the United States, “the only proper party defendant in an FTCA action.”
Kennedy v. United States Postal Serv., 145 F.3d 1077, 1078 (9th Cir. 1998); 28 U.S.C. §
2675. As “[t]he claim requirement of [28 U.S.C.] section 2675 is jurisdictional in nature and
may not be waived,” Plaintiffs’ nuisance claim must be dismissed on this ground alone.
Burns v. United States, 764 F.2d 722, 724 (9th Cir. 1985); see also McNeil v. United States,
508 U.S. 106, 111-13 (1993).
IV.      Plaintiffs’ Lack Standing to Bring Any of the Claims Asserted in the FAC.
         The doctrine of standing is derived from Article III of the United States Constitution,

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which limits a court's jurisdiction to resolving actual "cases" and "controversies." This
doctrine requires a plaintiff to "'allege[] such a personal stake in the outcome of the
controversy' as to warrant his invocation of federal-court jurisdiction and to justify exercise of
the court's remedial powers on his behalf." Warth v. Seldin, 422 U.S. 490, 498-99 (1975),
quoting, Baker v. Carr, 369 U.S. 186, 204 (1962).
         To establish Article III standing, a plaintiff must satisfy three elements: (1) that she
suffered an “injury in fact;” (2) that there is "a causal connection” between the injury and the
conduct complained of; and (3) that it is “likely,” as opposed to merely “speculative,” that the
injury will be “redressed by a favorable decision." Lujan v. Defenders of Wildlife, 504 U.S.
555, 560-61 (1992) (complaint must be dismissed where the plaintiffs fail to show injury in
fact and likelihood of redressability by favorable decision). “The party invoking federal
jurisdiction bears the burden of establishing these elements.” Id. at 561.
         Here, Plaintiffs fail to satisfy the requirements of the Lujan test. The essence of the
FAC is that Plaintiffs are victims of flooding; that the MR-GO was poorly designed and
constructed and exacerbated the flooding; and that a special master should be appointed to
“study” and develop “remedial measures” for the MR-GO. ¶¶ 1, 2, 23, 51; Prayer for Relief
at 90.
         First, Plaintiffs fail to show a “causal connection” between their injury and the
conduct complained of Lujan, 504 U.S. at 559. A causal connection between the 1958
construction of a channel and their loss has not been shown. Even if Plaintiffs were correct
and MR-GO was poorly constructed, the natural creation of a storm surge and breaches in
levees unrelated to the MR-GO project serve as intervening events between Defendants'
construction and Plaintiffs' harm. ¶ 153. Thus, Plaintiffs fail to meet their burden of showing
that their injuries are “fairly traceable to the challenged action of the defendant, and not the
result of the independent action of some third party not before the court.” Id. (citations
omitted).
         Most significantly, Plaintiffs fail to meet the redressability requirement because the
remedy they seek is not redress of their injuries or even removal of the cause of their distress,

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but merely a demand that the court think about the causes of their injury in a different way.
FAC, Prayer for Relief at 90 (seeking panel to “prepare study” and recommend “remedial
measures” for the MR-GO). Despite a lengthy recounting of the alleged problems with the
MR-GO (¶¶56-60), Plaintiffs do not identify the precise remedy they are seeking. FAC,
Prayer for Relief at 90. Indeed, it is not at all clear what a favorable decision would even
look like. At this juncture, it is pure “speculation” what the proposed study would show, or
what the proposed special master would recommend. As the remedy itself is uncertain, the
ability of this unknown remedy to redress Plaintiffs’ injuries is necessarily uncertain as well.
Accordingly, Plaintiffs fail to show that it is “‘likely,' as opposed to merely 'speculative,' that
the injury will be 'redressed by a favorable decision.'" Lujan 504 U.S. at 561. Plaintiffs
therefore lack standing to bring the claims they assert.
V.      This Action is Barred by the Flood Control Act of 1928
        In the Flood Control Act of 1928, Congress provided that "[n]o liability of any kind
shall attach to or rest upon the United States for any damage from or by floods or flood
waters at any place." 33 U.S.C. § 702c. As the Supreme Court observed, this provision
"outlines immunity in sweeping terms: ‘No liability of any kind . . . for any damage from or
by floods or flood waters at any place.' (Emphasis added [by Court].) It is difficult to
imagine broader language." United States v. James, 478 U.S. 597, 604 (1986) (footnote
omitted).
        The legislative history of Section 702c "confirm[ed] that it was intended to reaffirm
sovereign immunity" in order to "limit[] the Federal Government's financial liability to
expenditures directly necessary for the construction and operation of various projects." Id. at
607. Numerous "statements [by legislators] show that the sweeping language of § 702c was
no drafting inadvertence. Congress clearly sought to ensure beyond doubt that sovereign
immunity would protect the Government from ‘any' liability associated with flood control."
Id. at 608 (internal citation omitted). To this end, Congress employed "‘the broadest and
most emphatic language'" to describe the Government's immunity. Id. (quoting National
Mfg. Co. v. United States, 210 F.2d 263, 270 (8th Cir. 1954)). Based on this analysis, the

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Supreme Court rejected the lower court’s attempt to restrict the immunity to "acts strictly for
the purpose of controlling floods or floodwaters." 760 F.2d 603.
       “The scope of the immunity [is determined] not by the character of the federal project
or the purposes it serves, but by the character of the waters that cause the relevant damage . . .
” Central Green Co. v. United States, 531 U.S. 425, 434 (2001). Accordingly, whenever
damages result “from or by floods or flood waters,” the United States is absolutely immune.
Id. While this statute has traditionally been applied to tort claims for damages, the statute’s
broad language applies to “liability of any kind.” 33 U.S.C. 702c. This would apply to
injunctive relief as well. As the Supreme Court stated, “it is difficult to imagine broader
language." James III, 478 U.S. at 604.
       Here, it is undisputed that Plaintiffs’ claims are based on damages from flooding and
flood waters. ¶¶ 1 (action based on “devastating flooding caused by . . . the MR-GO”); 23 a-j
(alleging that each Plaintiff was damaged by flooding or flood waters from Hurricane
Katrina). Accordingly, Plaintiffs’ FAC falls within the plain language of the Flood Control
Act of 1928. The United States is therefore entitled to immunity and the FAC must therefore
be dismissed for lack of jurisdiction.
 VI.   The Relief Plaintiffs Seek is Beyond the Court’s Jurisdiction to Review
       Executive Branch Action.
       Plaintiffs ask this Court to appoint a special master and a panel of scientific experts to
prepare a study and remediation plan recommending remedial measures for the MR-GO and
to monitor these remedial measures for the Court. FAC, Prayer for Relief at 90. This request
asks the Court to depart from fundamental principles governing judicial review of executive
branch action. It is therefore beyond the Court’s jurisdiction under the APA.
       As set forth above, with the exception of Claim Six, all of Plaintiffs’ claims assert
jurisdiction under the APA. ¶¶ 167-224. The APA provides limited jurisdiction to “(1)
compel agency action unlawfully withheld or unreasonably delayed; and (2) hold unlawful
and set aside agency action, findings, and conclusions.” 5 U.S.C. § 706. The Court thus has
a limited role in reviewing agency action under the APA. It is not authorized to substitute its


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judgment for that of agency or provide the mandatory injunctive relief Plaintiffs seek here.
This limitation reflects the respective allocation of powers to the executive and judicial
branches.
       Judicial authority to hold unlawful and set aside agency action does not grant power
to exercise essentially administrative functions. Federal Power Comm’n v. Transcontinental
Gas Pipe Line Corp., 423 U.S. 326, 333 (1976) (a reviewing court may not “proceed by
dictating to the agency, the methods, procedures, and time dimension of the needed inquiry . .
. Such a procedure clearly runs the risk of propelling the court into the domain which
Congress has set aside exclusively for the administrative agency.”) (citations omitted).
       A court may not substitute its judgment for that of an administrative agency on
matters of policy or matters within the agency’s expertise, even when it finds legal errors
with agency decisions. See Norton v. S. Utah Wilderness Alliance, 542 U.S. 55, 66-67
(2004) (otherwise, “it would ultimately become the task of the supervising court, rather than
the agency, to work out compliance with the broad statutory mandate, injecting the judge into
day-to-day agency management”). The Supreme Court has also repeatedly emphasized that
reviewing courts are not free to impose upon agencies specific procedural requirements that
have no basis in the APA or governing statute. See, e.g., Vermont Yankee Nuclear Power
Corp. v. Natural Res. Def. Council, Inc., 435 U.S. 519, 544 (1978). As the
Supreme Court stated in Vermont Yankee, a court may not “impose upon the agency its own
notion of which procedures are ‘best’ or most likely to further some vague, undefined public
good.” Id. at 521. In short, a court may neither direct the substance of an agency
determination on remand nor supervise the step-by-step actions taken by an agency on
remand.
       But that is precisely what the Plaintiffs are asking the Court to do here. Plaintiffs ask
the Court to “[a]ppoint a Special Master and a panel of distinguished scientific experts . . . to
examine the dangers of the MR-GO and to prepare a study for the Court containing a MR-GO
Remediation Plan that recommends a comprehensive set of remedial measures.” FAC,
Prayer for Relief at 90. Plaintiffs ask the Court to then order such remedial measures. Id.

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As the Supreme Court explained in Norton and Vermont Yankee, such relief is beyond a
court’s jurisdiction under the APA. See Sierra Club v. U.S. Army Corps of Engineers, 701 F.
2d 1011, 1042-49 (2d Cir. 1983) (reversing appointment of special master to oversee
agencies’ reconsideration on remand, “appointment of special master was not permissible”
under the APA).
       Plaintiffs’ request that the Court issue an order “compelling Defendants to resume
dredging operations within the MR-GO, or, in the alternative, to take immediate action to
restore . . . the condition which existed [in 1958]” is similarly misguided. ¶ 224. The Court
may not “proceed by dictating to the agency, the methods, procedures, and time dimension of
the needed inquiry . . . Such a procedure clearly runs the risk of propelling the court into the
domain which Congress has set aside exclusively for the administrative agency.” Federal
Power Comm’n, 423 U.S. at 333.
       Accordingly, even if this Court were to find that it has jurisdiction over Plaintiffs’
APA claims, and even if the Court were to find statutory violations, the relief Plaintiffs seek
is beyond the Court’s jurisdiction under the APA.
                                        CONCLUSION
       For the reasons set forth above, the Court lacks jurisdiction over Plaintiffs’ claims and
should dismiss the FAC with prejudice.
November 13, 2006                              Respectfully submitted,


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                               CERTIFICATE OF SERVICE
       I, Alex Kriegsman, hereby certify that on November 13, 2006, I served a true copy of
Defendants’ Notice of Motion, Motion to Dismiss, and Memorandum in Support upon the
following parties by ECF, electronic mail, facsimile, or first class mail:


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